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                        UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF WEST VIRGINIA
                                AT CHARLESTON



UNITED STATES OF AMERICA

v.                                    CRIMINAL ACTION NOS. 2:05-00107-01
                                                           2:05-00107-02

GEORGE LECCO
VALERI FRIEND


                        MEMORANDUM OPINION AND ORDER


            Pending are the United States’ motions to redact

portions of certain documents (“motion to redact”), to seal the

motion to redact, both filed May 14, 2009, and for an order

requiring defendants to provide a summary of expected expert

witnesses to be called during the guilt/innocence phase and to

otherwise comply with their discovery obligations (“motion for

expert summary”), filed August 6, 2009.


            Pending also are defendants’ joint motion to renew all

motions previously filed to preserve the record (“joint motion to

renew”), filed August 12, 2009, and defendant George Lecco’s

motions to file out of time his motion for change of venue

(“motion to extend time for venue motion”), filed August 12,

2009, to seal his response to the United States’ motion for

expert summary, filed August 17, 2009, to seal his motion for

change of venue, filed August 12, 2009, to seal the United
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States’ response and his reply concerning the motion for change

of venue, filed September 1, 2009, to file out of time his reply

memorandum respecting his motion to sever (“motion to extend time

for severance reply”), filed September 1, 2009, and to file out

of time his reply memorandum concerning his motion to change

venue (“motion to extend time for change of venue reply”), filed

September 1, 2009.


            Regarding the United States’ motion to redact, on May

4, 2009, the court entered an order respecting certain materials

submitted by counsel during consideration of defendants’ second

motion for new trial:

      Counsel are directed to carefully scrutinize anew the
      [Joint Post Hearing] Memorandum [In Support of Motion
      for New Trial Based on Juror Misconduct (“Memorandum”)]
      and the investigative files to assure compliance with
      the court’s protective order and to submit a copy of
      those materials to the court to be spread on the public
      record at the appropriate time. In particular, it
      appears counsel may have inadvertently omitted
      redactions of names of those other than [juror William]
      Griffith and the law enforcement officers in the
      previously submitted investigative files. See, e.g.,
      (Offic. File of FBI at 25, 31, 32, 33, 83, 87, 109.)

United States v. Lecco, 2:05-107, slip op. at 6 n. 3 (S.D. W. Va.

May 4, 2009).


            On May 14, 2009, the United States submitted the motion

to redact along with proposed redactions to three volumes of


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material relating to the investigation of Griffith preceding his

jury service.        Those volumes consist of (1) the Memorandum, (2)

the official file of the United States Attorney, (3) the official

file of the Federal Bureau of Investigation, (4) the FBI special

agent working file, and (5) interview summaries involving certain

law enforcement officers and members of the United States

Attorney’s office.


            The proposed redactions are aimed at achieving

compliance with the “court’s intention that any documents spread

on the public record not contain the names of others in

connection with the child pornography investigation of Griffith

other than Griffith and the law enforcement officers.”                Id. at 5

(noting also that “[b]eyond that very limited redaction, . . .

the public interest in access to these materials seems paramount,

consistent with the court’s efforts on past occasions to freely

allow public inspection of these proceedings.”).


            The court has reviewed the proposed redactions, which

shield (1) the names of certain members of the United States

Attorney’s office, (2) various partial and complete addresses of

individuals, (3) the names of victims and those having some

association with them, and (4) the FBI Operation Plan for

executing the search warrant at Griffith’s home in December 2002,

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inasmuch as disclosure of those procedures might jeopardize

future similar law enforcement operations.            The United States

represents that counsel for the defendants do not oppose the

redaction requests.


            It appears that the United States’ efforts comply with

the very limited redaction contemplated by the court in its May

4, 2009, memorandum opinion and order.           The court, accordingly,

ORDERS that the motion to redact be, and it hereby is, granted.

It is further ORDERED that the motion to seal the motion to

redact be, and it hereby is, granted provisionally, with the

United States to advise the court and opposing counsel no later

than September 10, 2009, if the motion to redact might now be

spread on the public record, with or without redaction.               If

redaction is unnecessary, the United States is directed to file

the motion to redact on September 10, 2009.            It is further

ORDERED that the United States be, and it hereby is, directed to

electronically file no later than September 8, 2009, a copy of

the materials reflecting the redactions permitted by this

memorandum opinion and order.


            Regarding the United States’ motion for expert summary,

it is asserted as follows:

      The motion is necessitated by defendant Lecco’s failure

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      to comply timely with his disclosure obligations with
      respect to expert witnesses before the first trial in
      this case.

            . . . .

      Rule 16 requires a defendant to furnish to the
      government, at its request, a written summary of an
      expert witness’s opinions, the bases and reasons for
      those opinions, and qualifications, if the defendant
      has made a similar request. Fed. R. Crim. P.
      16(b)(1)(C). Here, Lecco has made such a request, and
      the United States has responded and made a reciprocal
      request. Lecco should comply with the Rules of
      Procedure and the Arraignment Order and should not be
      permitted to engage in trial by ambush in contravention
      of those rules and the Order.

(Mot. for Exp. Summ. at 2, 3).        The proposed order accompanying

the motion for expert summary would require disclosure of the

requested materials by the defense no later than September 17,

2009.


            While objecting to the proposed September 17, 2009,

deadline, counsel for defendant Friend profess an understanding

of, and willingness to comply with, their reciprocal discovery

obligations.     Inasmuch as the court has relieved attorney Jay T.

McCamic of further representational duties in this action, the

remaining lawyer for defendant Lecco asserts that the

discontinuity of counsel has caused some difficulty. (Resp. at

2).


            It appears that counsel understand their reciprocal

discovery obligations.      The court, accordingly, ORDERS that the


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United States’ motion for expert summary be, and it hereby is,

granted in all respects except that, in lieu of the suggested

deadline of September 17, 2009, counsel for defendants are

directed to disclose the requested information no later than

October 1, 2009.      Regarding defendant Lecco’s motion to seal his

response to the United States’ motion for expert summary, the

only basis offered for sealing is that the response refers to the

departure of Mr. McCamic from the case.           Inasmuch as that fact is

disclosed herein, a sealing order is unnecessary.              The court,

accordingly, ORDERS that the motion to seal defendant Lecco’s

response to the United States’ motion for expert summary be, and

it hereby is, denied as moot.


            Regarding the joint motion to renew, defendants,

without more, name the 90 motions, briefs, notices, and other

similar materials they filed prior to the court granting the

second motion for new trial.1        To the extent that defendants wish

the record to simply reflect renewal of their motions previously

filed, and contentment with the rulings made thereon without

formally seeking reconsideration, it is ORDERED that the joint

motion be, and it hereby is, granted and denied in all other

respects.

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      The final line of the motion simply states that relief is
requested “as stated in the various motions . . . .” (Mot. to
Ren. at 16).

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            Regarding defendant Lecco’s motion to extend time for

venue motion, counsel seeks permission to file the motion for a

change of venue on August 12, 2009.          The court notes that the

motion for a change of venue was filed on that date.              The due

date for the motion for a change of venue, however, was

previously scheduled for August 24, 2009.             See United States v.

Lecco, No. 2:05-107, slip op. at 3 (S.D. W. Va. Jul. 16, 2009).

The court, accordingly, ORDERS that the motion to extend time for

venue motion be, and it hereby is, denied as moot.              Finding good

cause, the court further ORDERS that the motions to extend time

for severance reply and for change of venue reply be, and they

hereby are, granted and the now filed submissions in that regard

are treated as timely.


            Regarding defendant Lecco’s motion to seal his motion

for change of venue, the showing offered to support the requested

seal is, in its entirety, as follows:

      Comes now the Defendant, by counsel, and moves the
      Court to seal its pleading entitled Defendant’s Motion
      to Change Venue in order to not create further
      publicity in this case. That Motion discusses the prior
      publicity in the case, upon which it bases its claim
      for relief, and it gathers in one place, as an exhibit,
      the inaccurate and prejudicial publicity about the
      case. Were it not filed under seal, the Motion would
      simply compound the existing problem.

(Mot. to Seal at 1).      The basis for the motion falls well short



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of the governing standards for a sealing order that are

applicable in this circuit.           The court, accordingly, ORDERS that

the motion to seal the motion for change of venue, along with the

motion to seal the United States’ response and Lecco’s reply

concerning change of venue be, and they hereby are, denied.


            The court additionally notes that it previously ordered

that “the date for filing any notice regarding a proposed mental

health protocol be . . . rescheduled to July 30, 2009.”                  Id. at

3.   On that date, the United States filed a “NOTICE REGARDING THE

NECESSITY AND CONTENT OF A PROPOSED PROTOCOL RELATING TO ANY

MENTAL HEALTH EVIDENCE [(“Notice”)].”            The Notice detailed the

limited areas of disagreement between the parties on the subject,

the need for further consultations, and forthcoming attempts to

resolve their differences on the matter.                Since the filing of the

Notice, counsel have not disclosed anything further on the matter

to the court.        It is, accordingly, ORDERED that the parties be,

and they hereby are, directed to submit no later than September

11, 2009, a proposed order adopting a protocol on all matters

upon which the parties have reached agreement, and suggested

additional language or deletions suggested by the respective

parties as to those areas, if any, upon which they continue to

diverge.




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            The Clerk is directed to forward copies of this

memorandum opinion and order to the defendants and counsel of

record.

                                          DATED:      September 3, 2009



                                          John T. Copenhaver, Jr.
                                          United States District Judge




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